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                                                       LINKS:
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        CV 12-344 GAF (JEMx)                                  Date   April 18, 2014
 Title           Bretta Pollara v. Radiant Logistics, Inc.;
                 Radiant Logistics, et al. v. Bretta Pollara, et al.



 Present: The Honorable                     GARY ALLEN FEESS
         Stephen Montes Kerr                             None                             N/A
             Deputy Clerk                       Court Reporter / Recorder               Tape No.
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None                                                 None


 Proceedings:             (In Chambers)

                      ORDER RE: FUTURE DAMAGES AND ROYALTIES

                                                 I.
                                           INTRODUCTION

        The parties have, at this late date, presented the Court with an issue regarding the
damages sought by Radiant Logistics and DBA Distribution in this case. The parties advised the
Court at the pre-trial conference that Radiant and DBA would be seeking only to recover on an
unjust enrichment theory, and submitted jury instructions to that effect. However, Oceanair
advises that Radiant and DBA supplemented an interrogatory response on April 10, 2014, to
assert that they will seek at trial future damages and a royalty payment. Oceanair moves to
preclude them from making any such claim. Radiant and DBA contend that the discovery
response has been misconstrued and that Oceanair has known for more than a year that “future
damages” have been included in the damage claim. They point to a number of discovery
responses that refer to “future profits,” and a response that indicates that “Plaintiffs will also
seek a ‘royalty’ for three years future profits.” They therefore contend that the motion is not well
taken.

    For the reasons discussed briefly below, the motion is GRANTED IN PART AND
DENIED IN PART.




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                                                 II.
                                             DISCUSSION

       The issue before the Court is governed by the California Uniform Trade Secret Act
(“CUTSA”), which describes the kinds of recovery available for misappropriation of trade
secrets. The CUTSA, § 3426.3(a) provides that:

                A complainant may recover damages for the actual loss caused by
                misappropriation. A complainant also may recover for the unjust enrichment
                caused by misappropriation that is not taken into account in computing damages
                for actual loss.

Section 3426.3 goes on to state that, if neither damages nor unjust enrichment is provable, the
court may order the payment of a royalty. California courts have held that the statutory language
means what it says – that a royalty is only considered by the Court if one of the other forms of
recovery is unprovable. See Caique, Inc. v. Robert Reiser & Co., 169 F.3d 619, 623 (9th Cir.
1999) citing Morlife v. Perry, 66 Cal.Rptr.2d 731, 740 (App. Ct. 1997). Moreover, even in those
cases where unjust enrichment or damages are not provable, the Court is not obligated to award
a royalty. Atlantic Inertial Systems, Inc. v. Condor Pacific Industries of California, Inc., 545
Fed.Appx. 600, 602 (9th Cir. 2013) citing Ajaxo Inc. v. E*Trade Financial Corp., 115
Cal.Rptr.3d 168, 183 (App. Ct. 2010). Further, if the Court were asked to award a royalty, it
would require evidence in the form of expert testimony to value a proper royalty rate for the
alleged trade secrets in this case. There will be no such testimony in the trial of this action.

                                                 III.
                                                ORDER

      Accordingly, based on the evidentiary record presented by the parties, the Court
concludes as follows:

         (1) Radiant and DBA may seek recovery for past unjust enrichment and any future unjust
         enrichment they can prove is reasonably likely to result from the purported
         misappropriation of trade secrets;

         (2) Radiant and DBA may not seek recovery for their lost future profits; they have
         abandoned all claims for damages based on their own losses and may not seek such
         recovery either for past or future losses;
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         (3) Radiant and DBA may not recover a royalty for the alleged misappropriation of trade
         secrets.

         IT IS SO ORDERED.




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